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                                              )
SHERYL WUL TZ, et aI.,                        )
                                              )
                Plaintiffs,                   )
                                              )
               v.                             )
                                              )
BANK OF CHINA, LTD.                           )
                                              )
                Defendant.                    )


  WWPOS~TECTIVE ORDER GOVERNING CONFIDENTIAL INFORMATION
A.      PURPOSES AND LIMITATIONS

        The Parties to the above-captioned action agree that disclosures and discovery activity in

the litigation of the above-captioned action (the "Litigation") may involve production of

confidential, proprietary, or private information for which special protection from public

disclosure and from use for any purpose other than prosecuting the Litigation will be warranted.

Accordingly, at the request of the Parties, the Court hereby adopts the following Protective Order

("Order").

B.     DEFINITIONS

        I.     "Party" shall mean any party to this Litigation, including all of its officers,

directors, employees, consultants, retained experts, and outside counsel (and their support staff).

       2.      "Disclosure or Discovery Material" shall include, but not be limited to, all items

or information. regardless of the medium or manner generated, stored, or maintained (including,

among other things, testimony, transcripts or tangible things), that are produced or generated in

disclosures or responses to discovery in this Litigation.
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       3.      "Producing Party" shall mean a Party that produces Disclosure or Discovery

Material in this Litigation.

       4.      "Receiving Party" shall refer to a Party that receives Disclosure or Discovery

Material from a Producing Party.

       5.      "Designating Party" shall mean a Party that designates Disclosure or Discovery

Material as Confidential pursuant to paragraph F.3. of this Order or Highly Confidential pursuant

to paragraph FA. of this Order.

       6.      "Confidential Information" shall include documents that (a) contain or are derived

from trade secrets or other proprietary or sensitive commercial or financial information; or (b)

contain or are records in the possession of BOC relating to financial information of persons who

are not parties to this litigation; or (c) contain or are derived from personal private financial,

medical, employment, educational information or disclose the current or past location ofa Party.

       7.      "Highly Confidential     Information" shall     include documents that that a

Designating Party believes to be either of such a highly sensitive nature that disclosure of such

information may result in substantial commercial or financial harm to a Party or its employees or

customers, or that a Party believes to be of such a highly personal nature that it may expose a

person to risk of harm.

       8.      "Confidential Information or Material" or "Highly Confidential Information or

Material"(collectively, "Protected Material") shall mean all Disclosure or Discovery Material, or

portions thereof, as well as any copies, summaries or abstracts thereof, which have been

designated by the Designating Party as Confidential pursuant to paragraph F.3. of this Order or

Highly Confidential pursuant to paragraph FA. of this Order.




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       9.       "Counsel" shall mean attorneys who are not employees of a Party but who are

retained to represent or advise a Party.

          10.   "Expert" shall mean a person with specialized knowledge or experience in a

matter pertinent to the litigation who has been retained by a Party or its counsel to serve as an

expert witness or as a consultant in this Litigation. This definition includes a professional jury or

trial consultant retained in connection with this Litigation.

          11.    "Professional Vendors" shall mean persons or entities that provide litigation

support     services   (e.g.,   photocopying;   videotaping;    translating;   preparing   exhibits   or

demonstratives; organizing, storing, retrieving data in any form or medium; etc.) and their

employees and subcontractors.

          12.    "Electronic Data" means information stored or recorded in the form of electronic

or magnetic media (including information, files, databases or programs stored on any digital or

analog machine-readable device, computers, discs, networks or tapes).

C.     SCOPE

       The protections conferred by this Order cover not only Protected Material (as defined

above), but also any information copied or extracted therefrom, as well as all copies, excerpts,

summaries, or compilations thereof, plus testimony, conversations, or presentations by the

Parties or counsel to or in court prior to trial or in other settings that might reveal Protected

Material.

       The provisions of this Order extend to all designated Protected Material regardless of the

manner in which it is disclosed, including but not limited to documents, interrogatory answers,

responses to requests for admissions, deposition testimony and transcripts, deposition exhibits,

any other discovery materials produced by a Party in response to or in connection with any




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discovery conducted in this litigation, and any copies, notes, abstracts or summaries of the

foregoing.

D.         DURATION

           Even after the termination ofthis Litigation, the obligations imposed by this Order shall

remain in effect until a Designating Party agrees otherwise in writing or a court order otherwise

directs.

E.         USE OF DISCLOSURE OR DISCOVERY MATERIAL

           All Disclosure or Discovery Material (or any copies, summaries or abstracts thereof)

produced in the course of the Litigation shall be used solely for the purpose ofthe prosecution or

defense of the Litigation, preparation of the Litigation for trial, or enforcement of any judgment

entered in this matter.

F.         DESIGNATING PROTECTED MATERIAL

           1.     Each Producing Party that designates information or items for protection under

this Order must take care to limit any such designation to specific material that qualifies under

the appropriate standards. If it comes to a Designating Party's attention that information or items

that it designated for protection do not qualify for protection at all, or do not qualifY for the level

of protection initially asserted, that Designating Party must promptly notifY all Receiving Parties

that it is withdrawing the mistaken designation.

           2.     Each Producing Party wishing to designate material for protection under this

Order must clearly so designate that material before it is disclosed or produced.

           3.     The Designating Party shall label or mark Disclosure or Discovery Material

produced to any other Party that is deemed to contain Confidential Material as follows:




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               CONFIDENTIAL: This document is subject to a Protective Order
               regarding confidential information in ll-cv-O 1266 (SAS), United
               States District Court for the Southern District of New York.

       4.      The Designating Party shall label or mark Disclosure or Discovery Material

produced to any other Party that is deemed to contain Highly Confidential Material as follows:

               HIGHLY CONFIDENTIAL: This document is subject to a
               Protective Order regarding confidential information in II-ev­
               a1266 (SAS), United States District Court for the Southern District
               of New York.

       5.      The Producing Party will designate Electronic Data as "Confidential" or "Highly

Confidential" in a cover letter identitying the information generally.        When feasible, the

Producing Party will also mark the electronic or magnetic media with the appropriate

designation.   Whenever any Party to whom Electronic Data designated as "Confidential" or

"Highly Confidential" is produced reduces such material to hardcopy form, such Party shaH

mark such hardcopy fonn with the legends provided for in paragraph F.3. or F.4. above.

Whenever any Electronic Data designated as "Confidential" or "Highly Confidential" is copied

into another file, all such copies shall also be marked "Confidential" or "Highly Confidential," as

appropriate.

       6.      Stamping or writing the designated legend on the cover of the first page of any

multi-page Disclosure or Discovery Material shall so designate all pages of such Disclosure or

Discovery Material, unless otherwise indicated by counsel for the Designating Party.

Confidentiality designations shall be made for good cause.

       7.      Should the Producing Party inadvertently fail to mark Disclosure or Discovery

Material as Confidential or Highly Confidential at the time of production, counsel for the

Producing Party shall promptly notity counsel for all Receiving Parties upon discovery of the

inadvertent production. Correction of an omission of the Confidential or Highly Confidential



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designation and notice thereof shall be made in writing by counsel for the Producing Party,

accompanied by substitute copies of each document or thing appropriately marked Confidential

or Highly Confidential, as appropriate.       Within ten (10) business days of receipt of these

substitute copies, counsel for the Receiving Parties shall return, or certity in writing the

destruction of, the previously unmarked Disclosure or Discovery Material and all copies; and all

summaries and abstracts thereof shall be maintained as Protected Material by the Party or their

counsel which created such copies, summaries or abstracts.

G.      DEPOSITION TESTIMONY

        I.     In the case of depositions upon oral examination, if counsel for a Party has a

reasonable and good faith belief that any question or answer contains Confidential Information

or Material, counsel for that Party shall so state on the record at the conclusion of the deposition

or during the next break in the deposition, whichever is earlier, and shall either request at that

time that all pages that include such Confidential Information or Material be marked

Confidential or Highly Confidential or submit a letter making that identification within 30 days

of receipt of the deposition transcript or a copy thereof, or written notification that the transcript

is available. Notice of such designation shall be made in writing to the court reporter, with

copies to all other counsel, specifying the portion(s) of the transcript and exhibits that constitute

or contain Protected Material and are to be marked as Confidential or Highly Confidential, as

appropriate.   The entire deposition transcript (including exhibits) shall be treated as Highly

Confidential Information under this Order until the expiration of the 30-day period for

designation by letter, except that the deponent may review the transcript during this 30-day

period. The following legend shall be placed on the front of the original deposition transcript

and each copy of the transcript containing Confidential Information or Highly Confidential




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Information: "CONTAINS CONFIDENTIAL INFORMATION" or "CONTAINS HIGHLY

CONFIDENTIAL INFORMATION;" and "DESIGNATED PARTS NOT TO BE USED,

COPIED OR DISCLOSED EXCEPT AS AUTHORIZED BY COURT ORDER." If all or part

of   a    videotaped    deposition   is   designated   as     "CONFIDENTIAL"       or   "HIGHL Y

CONFIDENTIAL," the videocassette, other videotape container or DVD shall be labeled with

these legends.

         2.      When testimony designated as containing Protected Material is elicited during a

deposition, persons not entitled to receive such information under the terms of this Order shall be

excluded from the deposition.

         3.      Transcripts containing testimony or exhibits designated as containing Confidential

Information or Material shall be marked by the court reporter, prior to transcript distribution,

with the legend "THIS TRANSCRIPT CONTAINS CONFIDENTIAL MATERIAL" and shall

be treated in accordance with the provisions of this Order.

         4.      Transcripts containing testimony or exhibits designated as containing Highly

Confidential Information or Material shall be marked by the court reporter, prior to transcript

distribution, with the legend "THIS TRANSCRIPT CONTAINS HIGHLY CONFIDENTIAL

MATERIAL" and shall be treated in accordance with the provisions of this Order.

H.       ACCESS TO, USE AND DISCLOSURE OF PROTECTED MATERIAL

         1.      A Receiving Party may use Protected Material that is disclosed or produced by

another Party in connection with this case only for prosecuting, defending, or attempting to settle

this Litigation, or for enforcement of any judgment entered in this action.        Such Protected

Material may be disclosed only to the categories of persons and under the conditions described in

this Order.




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       2.      Protected Material must be stored and maintained by a Receiving Party at a

location and in a secure manner that ensures that access is limited to the persons authorized

under this Order.

       3.      Unless otherwise ordered by the Court or permitted in writing by the Designating

Party, a Receiving Party may disclose any information or item designated as Confidential only

to:

               a.     Counsel for the Parties who are actively engaged in the conduct of the

               Litigation on behalf of the named Parties, including partners, associates,

               secretaries, legal assistants of such counsel, and any other person in the employ of

               such counsel to the extent reasonably necessary to render professional services;

               b.     The Court and those employed by the Court;

              c.      Any person designated by the Court in the interest of justice, upon such

              terms as the Court may deem proper;

              d.      Any witness at a deposition or at a hearing, or to the extent reasonably

              necessary in the preparation of such witness for such deposition or hearing, and to

              counsel for the witness;

              e.      Court reporters or persons operating video equipment who record

              depositions or other testimony in the Litigation;

              t:      Outside consultants or Experts retained for the purpose of assisting

              counsel in the Litigation, but only to the extent the disclosure of Confidential

              Information or Material is directly related to and reasonably necessary to

              counsel's prosecution of the Litigation;




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              g.     Professional Vendors engaged in one or more aspects of copymg,

              organizing, filing, coding, converting, storing or retrieving data or designing

              programs for handling data connected with the prosecution of the Litigation;

              h.     Any other person after written consent given by counsel for the

              Designating Party; and

              i.     Clients, to the extent necessary to fulfill counsel's obligations of attorney-

              client communications.

       4.     Unless otherwise ordered by the Court or permitted in writing by the Designating

Party, a Receiving Party may disclose any information or item designated as Highly Confidential

only to:

              a.     Outside counsel for the Parties who are actively engaged in the conduct of

              the Litigation on behalf of the named Parties, including partners, associates,

              secretaries, legal assistants of such counsel, and any other person in the employ of

              such counsel to the extent reasonably necessary to render professional services;

              b.     The Court and those employed by the Court;

              c.     Any person designated by the Court in the interest of justice, upon such

              terms as the Court may deem proper;

              d.     Any witness at a deposition or at a hearing, or to the extent reasonably

              necessary in the preparation of such witness for such deposition or hearing, and to

              counsel for the witness.   However, if the third-party witness is a competitor,

              customer, or regulator of the Designating Party, or an employee or agent of a

              competitor, customer, or regulator of the Designating Party, then the Party

              wishing to make such disclosure shall meet and confer with the Designating Party




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               a reasonable period in advance of such use to discuss the procedures for treatment

               of Highly Confidential Information, with all Parties reserving their rights to apply

               to the Court for further protections;

               e.      Court reporters or persons operating video equipment who record

               depositions or other testimony in the Litigation;

               f.      Outside consultants or Experts retained for the purpose of assisting

               counsel in the Litigation, but only to the extent the disclosure of Confidential

               Information or Material is directly related to and reasonably necessary to

               counsel's prosecution of the Litigation;

               g.      Professional Vendors engaged in one or more aspects of copying,

               organizing, filing, coding, converting, storing or retrieving data or designing

               programs for handling data connected with the prosecution of the Litigation;

               h.      Any other person after written consent given by counsel for the

               Designating Party; and

               i.      Clients, to the extent necessary to fulfill counsel's obligations of attorney-

               client communications.

       5.      If any Receiving Party desires to provide Protected Material produced by a

Producing Party to any person(s) not set forth in paragraph H.3. or paragraph H.4., and if the

Parties cannot resolve the matter consensually, the Party seeking to make such disclosure may

not do until the Court orders that such disclosure is appropriate.

       6.      It shall be the responsibility of counsel giving access to Confidential Information

or Material produced by the Producing Party to create and retain records indicating that the




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person receiving Confidential Information or Material agreed to be bound by the terms and

restrictions of this Order.

I. 	    FILING OF PROTECTED MATERIAL WITH THE COURT

        I. 	    Documents and materials filed with the Court:

                a. 	    Any Confidential Information or Highly Confidential Information filed

                        with or submitted to the Court prior to trial shall be filed in sealed

                        envelopes or other appropriate sealed containers on which shall be

                        endorsed the caption of this litigation, a generic designation of the

                        contents, the words "CONFIDENTIAL INFORMATION" (or "HIGHLY

                        CONFIDENTIAL INFORMATION") and "SUBJECT TO COURT

                        ORDER" and words in substantially the following form:

                               This envelope contains documents that are filed under seal in this
                               case by [name of party] and, by Order of this Court dated ___'
                               2010, shall not be opened nor its contents displayed or revealed
                               except as provided in that Order or by further Order of the Court.

                b. 	    Any pleading or other paper required to be filed under seal pursuant to this

                        Paragraph shall also bear the legend "FILED UNDER SEAL" in the

                        upper-right hand corner ofthe cover page of the document.

               c. 	     Only those portions of such documents and materials containing or

                        reflecting Confidential Information or Highly Confidential Information

                        shall be considered "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL"

                        and may be disclosed only in accordance with this Order. Where feasible,

                        only those portions of such filings that are Confidential Information or

                        Highly Confidential shall be tiled under seal.




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           d. 	   Any sealed document may be opened by the presiding Judge or designated

                  Magistrate, the presiding Judge's or designated Magistrate's law clerks,

                  and other necessary Court personnel without further order ofthe Court.

           e. 	   Each document filed under seal may be returned to the Party that filed it

                  under the following circumstances: (I) ifno appeal is taken, within ninety

                  days after a final jUdgment is rendered, or (2) if an appeal is taken, within

                  thirty days after the ruling of the last reviewing court that disposes of this

                  litigation in its entirety is filed. If the Party that filed a sealed document

                  fails to remove the document within the appropriate time frame, the Clerk

                  may destroy the document, return the document to counsel for the

                  Producing Party or the Party that filed the sealed document (if not the

                  same as the Producing Party) upon request within two years after

                  termination of the litigation, or take any other action to dispose of the

                  document that the clerk deems appropriate.

           f. 	   Notwithstanding any provision in this Order to the contrary, any

                  Producing Party may determine to reclassify a document it previously

                  designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" and is

                  not required to file such document under seal if the previously designated

                  Confidential Information or Highly Confidential Information was so

                  designated solely by that Party and all other Parties are notified of the

                  change in classification at the time such material is reclassified.




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J. 	   INADVERTENT            PRODUCTION         OF    PROTECTED          OR     PRIVILEGED
       MATERIAL

        1.     The inadvertent production of Disclosure or Discovery Material containing

attorney-client privilege or work-product information or any other Protected Material or

privileged information will not constitute, and may not be argued to constitute, a waiver of any

applicable privileges or protections.

       2.      Any Disclosure or Discovery Material inadvertently produced and subject to a

subsequent claim of privilege and/or protection shall, upon written request to Counsel for all

Receiving Parties made promptly upon learning of the inadvertent production, be returned

immediately to counsel for the Producing Party, and neither such Disclosure or Discovery

Material, nor copies thereot: shall be retained and/or used by any Receiving Party without either

the consent of the Producing Party or an order of the Court. Any Party may then move the Court

for an order compelling production of the Disclosure or Discovery Material, but said Party shall

not assert as aground for entering such an order the fact or circumstances of the inadvertent

production.

K. 	   PROTECTED MATERIAL SUBPOENAED BY OR ORDERED PRODUCED TO
       ANON-PARTY

       1.      If any Receiving Party receives a subpoena or other document production request

from a non-Party to this Order seeking production or other disclosure of Protected Material

produced by a Producing Party in this Litigation, that Party shall notify Counsel for the

Designating Party-in writing (by facsimile and email, if possible) immediately and in no event

more than five calendar days after receiving the subpoena or document production request-

identifying the Protected Material sought and enclosing a copy of the subpoena or request.

       2.      The Designating Party shall be entitled to make timely objections to or otherwise

challenge the production of the Protected Material including, by reference, the existence of this


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Order.    Unless and until such objections are overruled by the Court, or the Court otherwise

orders production of the Confidential Information or Material, no Receiving Party may produce

or divulge the contents of the Confidential Information or Material, except with the express

written consent of the Designating Party.

L.       FINAL DISPOSITION

         1.    Within 120 days after the entry of a final, non-appealable order disposing of all

actions in this Litigation, all Disclosure or Discovery Material, and all copies thereof, including

but not limited to, any notes or other transcriptions made therefrom, shall be returned to counsel

for the Producing Party or, in lieu thereof, counsel for the Receiving Party shall certity in writing

to counsel for the Producing Party the destruction of such Disclosure or Discovery Material.

         2.    Counsel for the Receiving Party shall make a reasonable effort to retrieve any

Disclosure or Discovery Material, or portions thereof, subject to this Order from any Party or

non-party witness and Expert or consultant to whom such information has been given, and shall

notify in writing counsel for the Producing Party of any failure to retrieve any such information,

the reasons therefore, the identity of the person from whom the Disclosure or Discovery

Material, or portions thereof, could not be retrieved, and the identity of any Disclosure or

Discovery Material, or portions thereof, not returned.

M.       CHALLENGING CONFIDENTIALITY DESIGNATIONS

         A failure to challenge the propriety of a "CONFIDENTIAL" or "HIGHLY

CONFIDENTIAL" designation at the time the material is produced shall not preclude a

subsequent challenge to the designation. In the event a Party objects to the designation of any

material under this Order by another Party, the objecting Party first shall consult with the

Producing Party to attempt to resolve the differences. If the Parties are unable to reach an accord




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as to the proper designation of the material, the objecting Party may, on notice to the other Party,

apply to the Court for a ruling that the material shall not be so treated. If such motion is made,

the Producing Party will have the burden to establish that the designation is proper. If no such

motion is made, the material will remain as designated. Any documents or other materials that

have been designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" shall be treated as

such until the Court rules that they should not be so treated, and a to-day period to move to

reconsider or appeal that ruling has expired without a motion to reconsider or an appeal having

been filed.

N.      NON-APPLICATION OF ORDER

       The restrictions set forth above shall not apply to (a) documents or information

designated "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL" that were, are or become

public knowledge, not in violation of this Order; or (b) were or are discovered independently by

the receiving party from a source that was not required to maintain the confidentiality of such

information.

O.     NOTIFICATION OF CONFIDENTIALITY ORDER

       All persons who are authorized to receive and are to be shown Protected Material under

this Order shall be provided a copy of this Order prior to the receipt of Protected Material.

Receipt of the Order indicates consent to be bound by the terms of this Order.

P.     MODIFICATION OF THE ORDER

       This Order shall not prevent a Party from applying to the Court for relief therefrom, or

from applying to the Court for further or additional protective orders, or from agreeing to

modification of this Order. subject to the approval of the Court.




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Q.      MISCELLANEOUS 


        1.      No Party waives any right it otherwise would have to object to disclosing or

producing any information or item on any ground not addressed in this Order. Similarly, no

Party waives any right to object on any ground to the use in evidence of any of the material

covered by this Order.

        2.      A Party's compliance with the terms of this Order shall not operate as an

admission that any particular document is or is not (a) confidential, (b) privileged or (c)

admissible in evidence at trial.

        3.     Nothing contained in this Protective Order shall preclude non-parties from

submitting objections for ruling by the Court.

       4.      Except as specifically provided herein, any violation of this Order is punishable

by money damages caused by the violation, including, but not limited to, all attorneys fees, court

costs, exhibit costs, expert witness fees, travel expenses, all related litigation costs, and actual

damages incurred by the other Party, equitable relief, injunctive relief, sanctions or any other

remedy as the Court deems appropriate.

       5.      Nothing in this Order shall be construed to apply to any Disclosure or Discovery

Material filed with the Court in connection with any trial, summary judgment motion or other

hearing or motion that is not related to discovery in this action.

       6.      Upon the final resolution of this Litigation, the provisions of this Order shall

continue to be binding. This Court expressly retains jurisdiction over this action for enforcement

of the provisions of this Order following the final resolution of this Litigation.




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So Ordered: New York, New York.




                                         United States District Judge




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